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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
                                                           CASE №: 6:24-cv-01629
  MATTHEW LAROSIERE,
                                    Plaintiff,
  v.
  CODY RUTLEDGE WILSON, DEFCAD, Inc.,
  DEFENSE DISTRIBUTED, and DIOSKOUROI
  LLC,
                                    Defendants.
  ______________________


  Defense Distributed,
                      Counterplaintiff/ Third-
                      Party Plaintiff,
  v.


  The Gatalog, Matthew Larosiere, John Elik,
  Alexander Holladay, Peter Celentano, Josh
  Kiel Stroke, John Lettman, and MAF Corp.
                      Counterdefendants.
  ____________________________________/

            EMERGENCY OBJECTION TO MAGISTRATE JUDGE'S MAY 12, 2025
       ORDER DENYING IN PART EMERGENCY MOTION FOR PROTECTIVE RELIEF
                                  (DOC. NO. 97)
         Rule 3.01(e) statement: Defendants admitted to serving and receiving a

  response to a secret subpoena served upon a third party requesting the financial and

  personally identifying information of over 23,000 third parties. Additionally, Defendants

  refuse to disclose what subpoenas are currently pending, despite failing to timely serve

  any such subpoena as required by Rule 45. Court intervention is needed emergently to

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  restrain this misappropriated, federally protected information and prevent more harm

  from resulting from Defendants’ ongoing Rule 45 abuses.

         Plaintiff and Counterdefendants Matthew Larosiere, John Elik, Josh Stroke, and

  John Lettman (collectively, “the Moving Parties”), pursuant to Federal Rule of Civil

  Procedure 72(a), respectfully file this emergency objection to Magistrate Judge Hoffman

  Price’s May 12, 2025 order (Doc. 97) insofar as it: (1) Denied the Moving Parties’

  renewed request to stay discovery; (2) Failed to quash the admittedly improperly served

  DigitalOcean subpoena; (3) Failed to order immediate sequestration or return of

  improperly obtained materials; and (4) Deferred protective relief despite the imminent

  disclosure of sensitive, federally protected information.

                             EMERGENCY BASIS FOR RELIEF

         This objection is submitted on an emergency basis. As identified in the

  emergency motion (Doc. 96) and supporting declarations (Exs. 96-6, 96-7, 96-8),

  multiple subpoenas were issued by Defendants without notice, in violation of Rule

  45(a)(4). One such subpoena—first seen in the FedEx package referenced in the

  Declaration of Zachary Zermay on April 29 (Doc. 96-7)—has a compliance deadline of

  May 13, 2025. Defendants remain in possession of private, sensitive communications

  and personally identifying information of over 23,000 unrelated third parties, including

  material obtained without lawful notice or opportunity to object (Doc. 96-6).

         As for the materials already acquired through admitted violations of procedural

  rules and which may implicate federal privacy protections, including under the Stored

  Communications Act (Doc. 96-5), Immediate judicial intervention is necessary to

  prevent irreparable harm, protect the privacy rights of thousands of individuals, and




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  preserve the integrity of these proceedings. Defendants are attempting to hide and

  obfuscate their disclosure of this misappropriated information. (Doc. 96-4 pp. 1-3; Doc,

  96-2). The situation demands urgent relief prior to any further use, disclosure, or

  exploitation of the improperly obtained materials, and before Defendants’ ongoing Rule

  45 abuses bear more poisoned fruit.

                                  STANDARD OF REVIEW

         Under Rule 72(a), the Court shall modify or set aside a magistrate judge’s order

  on a non-dispositive pretrial matter if it is “clearly erroneous or contrary to law.” See 28

  U.S.C. § 636(b)(1)(A). An order is clearly erroneous if, after reviewing the entire record,

  the district court is “left with the definite and firm conviction that a mistake has been

  committed.” United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948). “An order is

  contrary to law ‘when it fails to apply or misapplies relevant statutes, case law or rules of

  procedure.’” SEC v. Kramer, 778 F. Supp. 2d 1320, 1326-27 (M.D. Fla. 2011).

                                GROUNDS FOR OBJECTION

     I. THE MAGISTRATE CLEARLY ERRED IN DENYING A STAY WITHOUT
        CONSIDERING CHANGED CIRCUMSTANCES

     The Honorable Magistrate denied the renewed request to stay discovery “for the

  same reasons set forth in the Court’s March 6, 2025 Order.” (Doc. 97 p. 3). However,

  the March 6 Order was premised on the earlier motion’s failure to identify why

  Defendants’ sought discovery was overbroad or any burden or prejudice caused by the

  lack of a stay. (Doc. 83 at 9). Those circumstances have fundamentally changed. The

  emergency motion identifies ongoing, admitted Rule 45 abuses, shows that Defendants

  have gained protected information through their Rule 45 abuse, that Defendants have

  misappropriated the private and confidential information of over 23,000 third parties,



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  and that Defendants are refusing to engage in corrective measures, but rather await

  even more fruits of their Rule 45 abuses. (Doc. 96).

           The magistrate judge acknowledged in the May 12, 2025 order that the Court

  itself may have been “in the same boat” as Plaintiffs in not knowing what subpoenas are

  outstanding (Doc. 97 at 3). This candid acknowledgement—that the Court, like the

  Plaintiffs, has no way to verify what undisclosed subpoenas remain unaccounted for—

  demonstrates precisely why emergency relief is warranted. If neither the parties nor the

  Court know what subpoenas have been issued or responded to, and Defendants have

  refused to disclose that information despite repeated requests (Doc. 96-4), then the risk

  of irreparable harm is ongoing and potential damages are incalculable.

           In light of these admissions and the demonstrated risk to privacy and due

  process, an immediate stay of discovery is not only appropriate—it is the only effective

  means of halting further abuse until Defendants fully disclose all subpoenas issued and

  the scope of their responses. Absent a stay, the Court and Plaintiffs are blind to what

  discovery is being conducted behind closed doors, in defiance of Rule 45 (Doc. 96).

     II.   THE MAGISTRATE CLEARLY ERRED BY DEFERRING PROTECTIVE
           RELIEF DESPITE EVIDENCE OF MISCONDUCT.

           Declarations submitted in support of the emergency motion (Doc. 98-6, 96-7, 96-

  8) show that Defendants have already received and, in Defendant Wilson’s case,

  publicized the contents of the improperly obtained information (Doc. 96-2). The

  materials include private communications, user data, and proprietary information (Doc.

  96-6 ¶¶ 3–5). The motion sought relief under Rule 26(c) to prevent irreparable harm

  (Doc. 96 at 12), which the magistrate deferred for a month without addressing the

  uncontested facts of improper access, dissemination, or privacy violation. That is far too



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  much time for Defendants to be afforded carte blanche to misuse and continue to

  acquire protected information, including financial and personally identifying information

  concerning unrelated third parties. A protective order should have been entered

  immediately to prevent further harm.

     III. THE MAGISTRATE’S PROCEDURAL CRITICISMS DO NOT JUSTIFY THE
          DENIAL OF SUBSTANTIVE RELIEF

         While the Magistrate did not strike or deny the underlying motion for such, and

  the Moving Parties are thankful, the Magistrate faulted the motion for combining several

  requests and violating Doc. 61 (Doc. 97 at 2). However, these technical issues should

  not override the urgent need to protect sensitive data, particularly where Defendants

  have refused to identify the scope of their misconduct (Doc. 96-4 at 4; Doc. 96-7 ¶¶ 10–

  14). If this motion were governed by Doc. 61, the Moving Parties should be excused

  because limiting the underlying motion to 500 words would render it impossible to put

  the Court on notice of what underlies the emergent circumstances of the motion.

         As for the contention that combining relief was improper, the Moving Parties feel

  it is procedurally proper to file a single motion seeking to quash improper subpoenas,

  for a protective order, to stay discovery, and for sanctions. Rule 7(b)(1) of the Federal

  Rules of Civil Procedure allows a party to request a court order through a motion, which

  must state the grounds for the request and the relief sought with particularity.

  Combining related requests into a single motion is permissible as long as the requests

  are logically connected and supported by the same or overlapping legal arguments,

  which in this case were Defendants’ ongoing misconduct. McArdle v. City of Ocala, 451

  F. Supp. 3d 1304 (M.D. Fla. 2020) (Addressing combined motion to quash subpoenas

  and for protective order); In re Edgewood Gen. P'ship, 166 B.R. 188, 190 (Bankr. M.D.



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  Fla. 1994) (Addressing motion to quash subpoena combined with motion for protective

  order and for sanctions).

                                  RELIEF REQUESTED

         The Moving Parties respectfully request that this Honorable Court:

    1) Stay all discovery pending resolution of either the pending motion to dismiss (Doc.

        71) or the underlying motion (Doc. 96);

    2) Order immediate sequestration and non-use of all materials obtained via improper

        subpoenas, including the DigitalOcean subpoena;

    3) Quash the subpoena to DigitalOcean and any other subpoena issued without

        notice;

    4) Issue a protective order prohibiting dissemination of non-public discovery

        materials;

    5) Award attorneys' fees and costs incurred in addressing the discovery misconduct.


  Respectfully submitted,

  DATED: May 12, 2025

                               /s/Matthew Larosiere___      /s/ Zachary Z. Zermay____
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